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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


    Leonid Falberg, as representative of a class of          Case No. 1:19-cv-09910-ER
    similarly situated persons, and on behalf of The
    Goldman Sachs 401(k) Plan,
                                                              PLAINTIFF’S MOTION FOR
                          Plaintiff,                           LEAVE TO FILE UNDER
    v.                                                                 SEAL

    The Goldman Sachs Group, Inc., The Goldman
    Sachs 401(k) Plan Retirement Committee, and John
    Does 1-20,

                          Defendants.


          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

          PLEASE TAKE NOTICE that, pursuant to Section 3(ii) of the Court’s Individual Practices,

Plaintiff Leonid Falberg (“Plaintiff”) hereby moves this Court for an order allowing him to file the

following document under seal in connection with his opposition to Defendants’ Motion to

Exclude Certain Opinions of Dr. Brian C. Becker:

          1. An unredacted Memorandum in Opposition to Defendants’ Motion to Exclude Certain

             Opinions of Dr. Brian C. Becker (which references material designated as

             “Confidential” by Defendants”) 1.

          On March 24, 2022, Plaintiff requested Defendants’ permission to publicly file the

materials in question, but Defendants declined to grant such permission. Plaintiff takes no position

on whether these materials have been properly designated as confidential by Defendants, and it




1
 Plaintiff intends to publicly file a redacted version of the Memorandum that omits references to
material designated as “Confidential” by Defendants.
                                                   1
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shall be Defendants’ obligation to support this motion as the parties who designated the underlying

material “Confidential.”

       WHEREFORE, subject to Defendants making the necessary showing, Plaintiff respectfully

requests that this Court enter an order allowing him to file the aforementioned materials under seal

in connection with his response to Defendants’ Motion to Exclude Certain Opinions of Dr. Brian

C. Becker.

                                              Respectfully Submitted,

Dated: March 28, 2022                         NICHOLS KASTER, PLLP

                                              s/Brock J. Specht
                                              Brock J Specht, MN#0388343*
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                                              -and-

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                                              ATTORNEYS FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2022, a true and correct copy of the foregoing was served

by CM/ECF to the parties registered to the Court’s CM/ECF system.

Dated: March 28, 2022                        s/Brock J. Specht
                                             Brock J. Specht




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